               Case 08-14177-JDW                             Doc 1           Filed 10/10/08 Entered 10/10/08 15:54:03                                                Desc Main
                                                                            Document      Page 1 of 50
B1 (Official Form 1)(1/08)
                                              United States Bankruptcy Court
                                                  Northern District of Mississippi                                                                             Voluntary Petition
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 Name of Debtor (if individual, enter Last, First, Middle):                                             Name of Joint Debtor (Spouse) (Last, First, Middle):
  Hannah, William D                                                                                        Hannah, Jena B


All Other Names used by the Debtor in the last 8 years                                                  All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                             (include married, maiden, and trade names):




Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN                       Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
(if more than one, state all)                                                                           (if more than one, state all)
  xxx-xx-6970                                                                                              xxx-xx-9239
Street Address of Debtor (No. and Street, City, and State):                                             Street Address of Joint Debtor (No. and Street, City, and State):
  214 Rollins Drive                                                                                        214 Rollins Drive
  Batesville, MS                                                                                           Batesville, MS
                                                                                       ZIP Code                                                                                      ZIP Code
                                                                                     38606                                                                                        38606
County of Residence or of the Principal Place of Business:                                              County of Residence or of the Principal Place of Business:
  Panola                                                                                                   Panola
Mailing Address of Debtor (if different from street address):                                           Mailing Address of Joint Debtor (if different from street address):


                                                                                       ZIP Code                                                                                      ZIP Code

Location of Principal Assets of Business Debtor
(if different from street address above):


                   Type of Debtor                                       Nature of Business                                         Chapter of Bankruptcy Code Under Which
                (Form of Organization)                                     (Check one box)                                            the Petition is Filed (Check one box)
                   (Check one box)                              Health Care Business                                  Chapter 7
                                                                Single Asset Real Estate as defined                   Chapter 9                        Chapter 15 Petition for Recognition
    Individual (includes Joint Debtors)                         in 11 U.S.C. § 101 (51B)                                                               of a Foreign Main Proceeding
    See Exhibit D on page 2 of this form.                                                                             Chapter 11
                                                                Railroad
                                                                                                                      Chapter 12                       Chapter 15 Petition for Recognition
    Corporation (includes LLC and LLP)                          Stockbroker
                                                                                                                      Chapter 13                       of a Foreign Nonmain Proceeding
                                                                Commodity Broker
    Partnership
                                                                Clearing Bank
    Other (If debtor is not one of the above entities,          Other                                                                             Nature of Debts
    check this box and state type of entity below.)                                                                                                (Check one box)
                                                                        Tax-Exempt Entity
                                                                       (Check box, if applicable)                     Debts are primarily consumer debts,                 Debts are primarily
                                                                Debtor is a tax-exempt organization                   defined in 11 U.S.C. § 101(8) as                    business debts.
                                                                under Title 26 of the United States                   "incurred by an individual primarily for
                                                                Code (the Internal Revenue Code).                     a personal, family, or household purpose."

                                 Filing Fee (Check one box)                                             Check one box:                   Chapter 11 Debtors
    Full Filing Fee attached                                                                                   Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                               Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
    Filing Fee to be paid in installments (applicable to individuals only). Must                        Check if:
    attach signed application for the court's consideration certifying that the debtor
    is unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                           Debtor’s aggregate noncontingent liquidated debts (excluding debts owed
                                                                                                               to insiders or affiliates) are less than $2,190,000.
    Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                        Check all applicable boxes:
    attach signed application for the court's consideration. See Official Form 3B.                             A plan is being filed with this petition.
                                                                                                               Acceptances of the plan were solicited prepetition from one or more
                                                                                                               classes of creditors, in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information                                                                                                              THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that funds will be available for distribution to unsecured creditors.
   Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
   there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors

    1-            50-           100-           200-       1,000-        5,001-        10,001-       25,001-      50,001-        OVER
    49            99            199            999        5,000        10,000         25,000        50,000       100,000       100,000
Estimated Assets

    $0 to         $50,001 to    $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
    $50,000       $100,000      $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                               million    million      million        million       million
Estimated Liabilities

    $0 to         $50,001 to    $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
    $50,000       $100,000      $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                               million    million      million        million       million
             Case 08-14177-JDW                      Doc 1        Filed 10/10/08 Entered 10/10/08 15:54:03                                          Desc Main
                                                                Document      Page 2 of 50
B1 (Official Form 1)(1/08)                                                                                                                                                  Page 2
                                                                                      Name of Debtor(s):
Voluntary Petition                                                                      Hannah, William D
(This page must be completed and filed in every case)                                   Hannah, Jena B
                      All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location                                                           Case Number:                         Date Filed:
Where Filed: Northern District of Mississippi                       05-15217                              7/27/05
Location                                                                              Case Number:                                   Date Filed:
Where Filed:
          Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                     Case Number:                          Date Filed:
 - None -
District:                                                                             Relationship:                                  Judge:

                                     Exhibit A                                                                                  Exhibit B
                                                                                         (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be completed if debtor is required to file periodic reports (e.g.,                I, the attorney for the petitioner named in the foregoing petition, declare that I
  forms 10K and 10Q) with the Securities and Exchange Commission                        have informed the petitioner that [he or she] may proceed under chapter 7, 11,
  pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934                12, or 13 of title 11, United States Code, and have explained the relief available
  and is requesting relief under chapter 11.)                                           under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                        required by 11 U.S.C. §342(b).

        Exhibit A is attached and made a part of this petition.                         X     /s/ C. Gaines Baker                                 October 10, 2008
                                                                                            Signature of Attorney for Debtor(s)                     (Date)
                                                                                              C. Gaines Baker 8643

                                                                                Exhibit C
  Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
       Yes, and Exhibit C is attached and made a part of this petition.
       No.

                                                                           Exhibit D
  (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
        Exhibit D completed and signed by the debtor is attached and made a part of this petition.
  If this is a joint petition:
        Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                      Information Regarding the Debtor - Venue
                                                                (Check any applicable box)
                    Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                    days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
                    There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                    Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                    this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                    proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                    sought in this District.
                                       Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                               (Check all applicable boxes)
                    Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                     (Name of landlord that obtained judgment)




                                     (Address of landlord)

                    Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                    the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                    Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period
                    after the filing of the petition.
                    Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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                                                                   Document      Page 3 of 50
B1 (Official Form 1)(1/08)                                                                                                                                              Page 3
                                                                                         Name of Debtor(s):
Voluntary Petition                                                                          Hannah, William D
(This page must be completed and filed in every case)                                       Hannah, Jena B
                                                                                    Signatures
                  Signature(s) of Debtor(s) (Individual/Joint)                                          Signature of a Foreign Representative
     I declare under penalty of perjury that the information provided in this              I declare under penalty of perjury that the information provided in this petition
     petition is true and correct.                                                         is true and correct, that I am the foreign representative of a debtor in a foreign
     [If petitioner is an individual whose debts are primarily consumer debts and          proceeding, and that I am authorized to file this petition.
     has chosen to file under chapter 7] I am aware that I may proceed under
                                                                                           (Check only one box.)
     chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief
     available under each such chapter, and choose to proceed under chapter 7.                  I request relief in accordance with chapter 15 of title 11. United States Code.
     [If no attorney represents me and no bankruptcy petition preparer signs the                Certified copies of the documents required by 11 U.S.C. §1515 are attached.
     petition] I have obtained and read the notice required by 11 U.S.C. §342(b).
                                                                                                Pursuant to 11 U.S.C. §1511, I request relief in accordance with the chapter
     I request relief in accordance with the chapter of title 11, United States Code,           of title 11 specified in this petition. A certified copy of the order granting
     specified in this petition.                                                                recognition of the foreign main proceeding is attached.


      /s/ William D Hannah                                                                 X
 X                                                                                             Signature of Foreign Representative
     Signature of Debtor William D Hannah

 X    /s/ Jena B Hannah                                                                        Printed Name of Foreign Representative
     Signature of Joint Debtor Jena B Hannah
                                                                                               Date
     Telephone Number (If not represented by attorney)                                            Signature of Non-Attorney Bankruptcy Petition Preparer
     October 10, 2008
                                                                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Date                                                                                      preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                               compensation and have provided the debtor with a copy of this document
                              Signature of Attorney*                                           and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                               110(h), and 342(b); and, (3) if rules or guidelines have been promulgated
                                                                                               pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
 X    /s/ C. Gaines Baker
                                                                                               chargeable by bankruptcy petition preparers, I have given the debtor notice
     Signature of Attorney for Debtor(s)                                                       of the maximum amount before preparing any document for filing for a
      C. Gaines Baker 8643                                                                     debtor or accepting any fee from the debtor, as required in that section.
                                                                                               Official Form 19 is attached.
     Printed Name of Attorney for Debtor(s)
      C. Gaines Baker & Associates, LLC
                                                                                               Printed Name and title, if any, of Bankruptcy Petition Preparer
     Firm Name
      136 Public Square
      C.G. Baker Building, Suite One                                                           Social-Security number (If the bankrutpcy petition preparer is not
      Batesville, MS 38606                                                                     an individual, state the Social Security number of the officer,
                                                                                               principal, responsible person or partner of the bankruptcy petition
     Address                                                                                   preparer.)(Required by 11 U.S.C. § 110.)

                     cgbaker@panola.com (court use only)
      (662)563-9385 Fax: (662)561-0743
     Telephone Number
     October 10, 2008
                                                                                               Address
     Date
     *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
     certification that the attorney has no knowledge after an inquiry that the            X
     information in the schedules is incorrect.
                                                                                               Date
                Signature of Debtor (Corporation/Partnership)
                                                                                               Signature of Bankruptcy Petition Preparer or officer, principal, responsible
     I declare under penalty of perjury that the information provided in this                  person,or partner whose Social Security number is provided above.
     petition is true and correct, and that I have been authorized to file this petition
     on behalf of the debtor.                                                                  Names and Social-Security numbers of all other individuals who prepared or
                                                                                               assisted in preparing this document unless the bankruptcy petition preparer is
     The debtor requests relief in accordance with the chapter of title 11, United             not an individual:
     States Code, specified in this petition.

 X
     Signature of Authorized Individual
                                                                                               If more than one person prepared this document, attach additional sheets
                                                                                               conforming to the appropriate official form for each person.
     Printed Name of Authorized Individual
                                                                                               A bankruptcy petition preparer’s failure to comply with the provisions of
                                                                                               title 11 and the Federal Rules of Bankruptcy Procedure may result in
     Title of Authorized Individual                                                            fines or imprisonment or both 11 U.S.C. §110; 18 U.S.C. §156.

     Date
            Case 08-14177-JDW                             Doc 1          Filed 10/10/08 Entered 10/10/08 15:54:03          Desc Main
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Official Form 1, Exhibit D (10/06)
                                                                  United States Bankruptcy Court
                                                                        Northern District of Mississippi
             William D Hannah
 In re       Jena B Hannah                                                                                 Case No.
                                                                                             Debtor(s)     Chapter    13




                   EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                   CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.

           2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 15 days after your bankruptcy case is filed.
          3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the five days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Must be accompanied by a motion for determination by the court.][Summarize exigent circumstances
here.]
       If the court is satisfied with the reasons stated in your motion, it will send you an order approving
your request. You must still obtain the credit counseling briefing within the first 30 days after you file
your bankruptcy case and promptly file a certificate from the agency that provided the briefing, together
with a copy of any debt management plan developed through the agency. Any extension of the 30-day
deadline can be granted only for cause and is limited to a maximum of 15 days. A motion for extension
must be filed within the 30-day period. Failure to fulfill these requirements may result in dismissal of
your case. If the court is not satisfied with your reasons for filing your bankruptcy case without first
receiving a credit counseling briefing, your case may be dismissed.
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             Case 08-14177-JDW                                  Doc 1            Filed 10/10/08 Entered 10/10/08 15:54:03   Desc Main
                                                                                Document      Page 5 of 50


Official Form 1, Exh. D (10/06) - Cont.

          4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                  Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
       mental deficiency so as to be incapable of realizing and making rational decisions with respect to
       financial responsibilities.);
                  Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
       unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
       through the Internet.);
                  Active military duty in a military combat zone.
         5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.
              I certify under penalty of perjury that the information provided above is true and correct.

 Signature of Debtor:                              /s/ William D Hannah
                                                   William D Hannah
 Date:         October 10, 2008




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Official Form 1, Exhibit D (10/06)
                                                                  United States Bankruptcy Court
                                                                        Northern District of Mississippi
             William D Hannah
 In re       Jena B Hannah                                                                                 Case No.
                                                                                             Debtor(s)     Chapter    13




                   EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                   CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

           1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.

           2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 15 days after your bankruptcy case is filed.
          3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the five days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Must be accompanied by a motion for determination by the court.][Summarize exigent circumstances
here.]
       If the court is satisfied with the reasons stated in your motion, it will send you an order approving
your request. You must still obtain the credit counseling briefing within the first 30 days after you file
your bankruptcy case and promptly file a certificate from the agency that provided the briefing, together
with a copy of any debt management plan developed through the agency. Any extension of the 30-day
deadline can be granted only for cause and is limited to a maximum of 15 days. A motion for extension
must be filed within the 30-day period. Failure to fulfill these requirements may result in dismissal of
your case. If the court is not satisfied with your reasons for filing your bankruptcy case without first
receiving a credit counseling briefing, your case may be dismissed.
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             Case 08-14177-JDW                                  Doc 1            Filed 10/10/08 Entered 10/10/08 15:54:03   Desc Main
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Official Form 1, Exh. D (10/06) - Cont.

          4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                  Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
       mental deficiency so as to be incapable of realizing and making rational decisions with respect to
       financial responsibilities.);
                  Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
       unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
       through the Internet.);
                  Active military duty in a military combat zone.
         5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.
              I certify under penalty of perjury that the information provided above is true and correct.

 Signature of Debtor:                              /s/ Jena B Hannah
                                                   Jena B Hannah
 Date:         October 10, 2008




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                Case 08-14177-JDW                             Doc 1          Filed 10/10/08 Entered 10/10/08 15:54:03                    Desc Main
                                                                            Document      Page 8 of 50
B6 Summary (Official Form 6 - Summary) (12/07)


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                                                                  United States Bankruptcy Court
                                                                        Northern District of Mississippi
  In re          William D Hannah,                                                                                    Case No.
                 Jena B Hannah
                                                                                                                ,
                                                                                               Debtors                Chapter                  13




                                                                       SUMMARY OF SCHEDULES
     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
     B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
     Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
     also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




              NAME OF SCHEDULE                             ATTACHED                NO. OF          ASSETS                LIABILITIES            OTHER
                                                            (YES/NO)               SHEETS

A - Real Property                                                 Yes                 1                  48,000.00


B - Personal Property                                             Yes                 3                    6,897.00


C - Property Claimed as Exempt                                    Yes                 1


D - Creditors Holding Secured Claims                              Yes                 2                                          36,356.31


E - Creditors Holding Unsecured                                   Yes                 1                                               0.00
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                                   Yes                 10                                         36,290.14
    Nonpriority Claims

G - Executory Contracts and                                       Yes                 1
   Unexpired Leases

H - Codebtors                                                     Yes                 1


I - Current Income of Individual                                  Yes                 1                                                                 1,666.30
    Debtor(s)

J - Current Expenditures of Individual                            Yes                 2                                                                 1,416.00
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                            23


                                                                                Total Assets             54,897.00


                                                                                                 Total Liabilities               72,646.45




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                                                                            Document      Page 9 of 50
Form 6 - Statistical Summary (12/07)


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                                                                  United States Bankruptcy Court
                                                                        Northern District of Mississippi
  In re           William D Hannah,                                                                                    Case No.
                  Jena B Hannah
                                                                                                            ,
                                                                                         Debtors                       Chapter               13


               STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
          a case under chapter 7, 11 or 13, you must report all information requested below.

                   Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                   report any information here.

          This information is for statistical purposes only under 28 U.S.C. § 159.
          Summarize the following types of liabilities, as reported in the Schedules, and total them.


              Type of Liability                                                                    Amount

              Domestic Support Obligations (from Schedule E)                                                        0.00

              Taxes and Certain Other Debts Owed to Governmental Units
              (from Schedule E)
                                                                                                                    0.00

              Claims for Death or Personal Injury While Debtor Was Intoxicated
              (from Schedule E) (whether disputed or undisputed)
                                                                                                                    0.00

              Student Loan Obligations (from Schedule F)                                                            0.00

              Domestic Support, Separation Agreement, and Divorce Decree
              Obligations Not Reported on Schedule E
                                                                                                                    0.00

              Obligations to Pension or Profit-Sharing, and Other Similar Obligations
              (from Schedule F)
                                                                                                                    0.00

                                                                                 TOTAL                              0.00


              State the following:

              Average Income (from Schedule I, Line 16)                                                         1,666.30

              Average Expenses (from Schedule J, Line 18)                                                       1,416.00

              Current Monthly Income (from Form 22A Line 12; OR,
              Form 22B Line 11; OR, Form 22C Line 20 )                                                          2,643.67


              State the following:
              1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                  column
                                                                                                                                  15,949.77

              2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                  column
                                                                                                                    0.00

              3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                  PRIORITY, IF ANY" column
                                                                                                                                          0.00

              4. Total from Schedule F                                                                                            36,290.14

              5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                        52,239.91




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B6A (Official Form 6A) (12/07)


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  In re          William D Hannah,                                                                                   Case No.
                 Jena B Hannah
                                                                                                         ,
                                                                                           Debtors
                                                                 SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                         Husband,    Current Value of
                                                                                 Nature of Debtor's       Wife,     Debtor's Interest in           Amount of
                 Description and Location of Property                            Interest in Property     Joint, or  Property, without            Secured Claim
                                                                                                        Community Deducting  any Secured
                                                                                                                    Claim or Exemption

homestead property located at 214 Rollins Drive,                                                             H                  48,000.00                   9,083.52
Batesville, Second Judicial District, Panola County,
Mississippi




                                                                                                         Sub-Total >            48,000.00        (Total of this page)

                                                                                                                 Total >        48,000.00
  0     continuation sheets attached to the Schedule of Real Property
                                                                                                         (Report also on Summary of Schedules)
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  In re          William D Hannah,                                                                                       Case No.
                 Jena B Hannah
                                                                                                             ,
                                                                                            Debtors
                                                          SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                             N                                                                  Husband,        Current Value of
                 Type of Property                            O                   Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                   Joint, or   without Deducting any
                                                             E                                                                 Community Secured Claim or Exemption

1.     Cash on hand                                          X

2.     Checking, savings or other financial                      checking account - Regions Bank - overdrawn                        J                              0.00
       accounts, certificates of deposit, or
       shares in banks, savings and loan,
       thrift, building and loan, and
       homestead associations, or credit
       unions, brokerage houses, or
       cooperatives.

3.     Security deposits with public                         X
       utilities, telephone companies,
       landlords, and others.

4.     Household goods and furnishings,                          p.m.s.i. furniture                                                 J                      Unknown
       including audio, video, and
       computer equipment.                                       household goods and furnishings - television,                      J                        2,500.00
                                                                 radio, appliances, furniture, vcr, etc.

5.     Books, pictures and other art                             misc. books and pictures                                           J                           300.00
       objects, antiques, stamp, coin,
       record, tape, compact disc, and
       other collections or collectibles.

6.     Wearing apparel.                                          clothing                                                           J                           800.00

7.     Furs and jewelry.                                         wedding rings                                                      J                           500.00

                                                                 misc. jewelry                                                      W                           400.00

8.     Firearms and sports, photographic,                        9 mm                                                               J                           100.00
       and other hobby equipment.

9.     Interests in insurance policies.                      X
       Name insurance company of each
       policy and itemize surrender or
       refund value of each.

10. Annuities. Itemize and name each                         X
    issuer.


                                                                                                                                    Sub-Total >            4,600.00
                                                                                                                        (Total of this page)

  2     continuation sheets attached to the Schedule of Personal Property

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  In re          William D Hannah,                                                                                      Case No.
                 Jena B Hannah
                                                                                                            ,
                                                                                           Debtors
                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                  (Continuation Sheet)

                                                             N                                                                 Husband,        Current Value of
                 Type of Property                            O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                  Joint, or   without Deducting any
                                                             E                                                                Community Secured Claim or Exemption

11. Interests in an education IRA as                         X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                           State Retirement                                                  H                      Unknown
    other pension or profit sharing
    plans. Give particulars.

13. Stock and interests in incorporated                      X
    and unincorporated businesses.
    Itemize.

14. Interests in partnerships or joint                       X
    ventures. Itemize.

15. Government and corporate bonds                           X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                                         Herman McNally - joint debtor has judgment                        J                        1,397.00
                                                                 against in the amount of$1397.00

17. Alimony, maintenance, support, and                       X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor X
    including tax refunds. Give particulars.


19. Equitable or future interests, life                      X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                             X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                            future Federal tax refunds                                        J                      Unknown
    claims of every nature, including
    tax refunds, counterclaims of the                            future State tax refunds                                          J                      Unknown
    debtor, and rights to setoff claims.
    Give estimated value of each.

                                                                                                                                   Sub-Total >            1,397.00
                                                                                                                       (Total of this page)

Sheet 1 of 2          continuation sheets attached
to the Schedule of Personal Property

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  In re          William D Hannah,                                                                                      Case No.
                 Jena B Hannah
                                                                                                            ,
                                                                                           Debtors
                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                  (Continuation Sheet)

                                                             N                                                                 Husband,        Current Value of
                 Type of Property                            O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                  Joint, or   without Deducting any
                                                             E                                                                Community Secured Claim or Exemption
                                                                 future EIC payments                                                J                     Unknown

22. Patents, copyrights, and other                           X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                          X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations                     X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                           (04) Suziki Forenza                                                J                             0.00
    other vehicles and accessories.
                                                                 (02) Ford Taraus                                                   J                             0.00

                                                                 198 Chevy Van                                                      J                          400.00

26. Boats, motors, and accessories.                          X

27. Aircraft and accessories.                                X

28. Office equipment, furnishings, and                       X
    supplies.

29. Machinery, fixtures, equipment, and                      X
    supplies used in business.

30. Inventory.                                               X

31. Animals.                                                 X

32. Crops - growing or harvested. Give                       X
    particulars.

33. Farming equipment and                                    X
    implements.

34. Farm supplies, chemicals, and feed.                      X

35. Other personal property of any kind                          riding lawnmower                                                   J                          500.00
    not already listed. Itemize.


                                                                                                                                   Sub-Total >              900.00
                                                                                                                       (Total of this page)
                                                                                                                                        Total >           6,897.00
Sheet 2 of 2          continuation sheets attached
to the Schedule of Personal Property                                                                                               (Report also on Summary of Schedules)
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   In re          William D Hannah,                                                                                      Case No.
                  Jena B Hannah
                                                                                                                ,
                                                                                               Debtors
                                              SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                         Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                         $136,875.
    11 U.S.C. §522(b)(2)
    11 U.S.C. §522(b)(3)

                                                                                       Specify Law Providing                   Value of             Current Value of
                    Description of Property                                               Each Exemption                       Claimed              Property Without
                                                                                                                              Exemption           Deducting Exemption
Real Property
homestead property located at 214 Rollins                                        Miss. Code Ann. § 85-3-21                         38,916.48                 48,000.00
Drive, Batesville, Second Judicial District,
Panola County, Mississippi

Household Goods and Furnishings
household goods and furnishings - television,                                    Miss. Code Ann. § 85-3-1(a)                        2,500.00                  2,500.00
radio, appliances, furniture, vcr, etc.

Books, Pictures and Other Art Objects; Collectibles
misc. books and pictures                            Miss. Code Ann. § 85-3-1(a)                                                       300.00                     300.00

Wearing Apparel
clothing                                                                         Miss. Code Ann. § 85-3-1(a)                          800.00                     800.00

Furs and Jewelry
wedding rings                                                                    Miss. Code Ann. § 85-3-1(a)                          500.00                     500.00

Firearms and Sports, Photographic and Other Hobby Equipment
9 mm                                            Miss. Code Ann. § 85-3-1(a)                                                           100.00                     100.00

Interests in IRA, ERISA, Keogh, or Other Pension or Profit Sharing Plans
State Retirement                                    Miss. Code Ann. § 25-11-129                                                           0.00              Unknown

Other Contingent and Unliquidated Claims of Every Nature
future Federal tax refunds                        Miss. Code Ann. § 85-3-1(i)                                                      10,000.00                Unknown

future State tax refunds                                                         Miss. Code Ann. § 85-3-1(j)                       10,000.00                Unknown

future EIC payments                                                              Miss. Code Ann. § 85-3-1(h)                       10,000.00                Unknown

Other Personal Property of Any Kind Not Already Listed
riding lawnmower                                  Miss. Code Ann. § 85-3-1(a)                                                         500.00                     500.00




                                                                                                                Total:             73,616.48                 52,700.00
    0      continuation sheets attached to Schedule of Property Claimed as Exempt
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   In re          William D Hannah,                                                                                               Case No.
                  Jena B Hannah
                                                                                                                     ,
                                                                                                     Debtors
                                      SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                                C   Husband, Wife, Joint, or Community                        C    U   D     AMOUNT OF
              CREDITOR'S NAME                                   O                                                             O    N   I
                                                                D   H        DATE CLAIM WAS INCURRED,                         N    L   S        CLAIM
           AND MAILING ADDRESS                                  E                                                             T    I   P       WITHOUT        UNSECURED
            INCLUDING ZIP CODE,                                 B   W           NATURE OF LIEN, AND                           I    Q   U                      PORTION, IF
                                                                T   J         DESCRIPTION AND VALUE                           N    U   T
                                                                                                                                              DEDUCTING
           AND ACCOUNT NUMBER                                   O                                                             G    I   E       VALUE OF          ANY
             (See instructions above.)
                                                                    C                OF PROPERTY
                                                                R
                                                                                  SUBJECT TO LIEN
                                                                                                                              E    D   D     COLLATERAL
                                                                                                                              N    A
                                                                                                                              T    T
Account No. xxxxxxxxxxxxx1001                                           Opened 8/01/06 Last Active 8/15/08                         E
                                                                                                                                   D

Capital One Auto Finance                                                Automobile
3901 N Dallas Pkwy
Plano, TX 75093
                                                                    J

                                                                         Value $                               Unknown                           9,501.00             9,501.00
Account No. xxxx1521                                                    Opened 6/01/05 Last Active 8/18/08

Crescent Bank And Trus                                                  (02) Ford Taraus
Attn: Bankruptcy
7290 Bluebonet Blvd Ste 600
                                                               X J
Baton Rouge, LA 70810

                                                                         Value $                               5,377.50                          2,731.00                   0.00
Account No. xxxxxxxxxxxxx1000                                           Opened 6/01/06 Last Active 8/30/08

Drive Financial                                                         (04) Suziki Forenza
Attn: Bankruptcy Department
Po Box 562088
                                                               X J
Dallas, TX 75247

                                                                         Value $                               5,512.50                          7,887.00             2,374.50
Account No.                                                             198 Chevy Van

Republic Fianance, LLC
103-1 Woodland Road
Batesville, MS 38606
                                                                    J

                                                                         Value $                                 400.00                          4,474.27             4,074.27
                                                                                                                           Subtotal
 1
_____ continuation sheets attached                                                                                                              24,593.27           15,949.77
                                                                                                                  (Total of this page)




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   In re          William D Hannah,                                                                                                Case No.
                  Jena B Hannah
                                                                                                                      ,
                                                                                                     Debtors

                                      SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                         (Continuation Sheet)

                                                                C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
             CREDITOR'S NAME                                    O                                                              O    N   I
                                                                D   H            DATE CLAIM WAS INCURRED,                      N    L   S        CLAIM
           AND MAILING ADDRESS                                  E                                                              T    I   P       WITHOUT        UNSECURED
                                                                    W              NATURE OF LIEN, AND                                                         PORTION, IF
            INCLUDING ZIP CODE,                                 B
                                                                                  DESCRIPTION AND VALUE
                                                                                                                               I    Q   U
                                                                                                                                               DEDUCTING
                                                                T   J                                                          N    U   T                         ANY
           AND ACCOUNT NUMBER                                   O   C                  OF PROPERTY                             G    I   E       VALUE OF
              (See instructions.)                               R
                                                                                      SUBJECT TO LIEN                          E    D   D     COLLATERAL
                                                                                                                               N    A
                                                                                                                               T    T
Account No.                                                             p.m.s.i. furniture                                          E
                                                                                                                                    D

TnT Appliances
122 Highway 51 North
Batesville, MS 38606
                                                                    J

                                                                         Value $                               Unknown                            2,679.52           Unknown
Account No.                                                             homestead property located at 214
                                                                        Rollins Drive, Batesville, Second
Vickie Hannah Hadorn                                                    Judicial District, Panola County,
Broadway Trailer Park                                                   Mississippi
Number 6
                                                                    J
Batesville, MS 38606

                                                                         Value $                               48,000.00                          9,083.52                   0.00
Account No.




                                                                         Value $
Account No.




                                                                         Value $
Account No.




                                                                         Value $
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Sheet _____    1
            of _____  continuation sheets attached to                                                                       Subtotal
                                                                                                                                                 11,763.04                   0.00
Schedule of Creditors Holding Secured Claims                                                                       (Total of this page)
                                                                                                                             Total               36,356.31           15,949.77
                                                                                                   (Report on Summary of Schedules)

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  In re          William D Hannah,                                                                                        Case No.
                 Jena B Hannah
                                                                                                              ,
                                                                                           Debtors
                     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
           A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
     to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
     account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
     continuation sheet for each type of priority and label each with the type of priority.
           The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
     so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
     Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
     schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
     liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
     column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
     "Disputed." (You may need to place an "X" in more than one of these three columns.)
           Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
     "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
           Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
     listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
     also on the Statistical Summary of Certain Liabilities and Related Data.
           Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
     priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
     total also on the Statistical Summary of Certain Liabilities and Related Data.

          Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
          Domestic support obligations
         Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
     of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

          Extensions of credit in an involuntary case
         Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
     trustee or the order for relief. 11 U.S.C. § 507(a)(3).

          Wages, salaries, and commissions
         Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
     representatives up to $10,950* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
     occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

          Contributions to employee benefit plans
        Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
     whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

          Certain farmers and fishermen
          Claims of certain farmers and fishermen, up to $5,400* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

          Deposits by individuals
         Claims of individuals up to $2,425* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
     delivered or provided. 11 U.S.C. § 507(a)(7).

          Taxes and certain other debts owed to governmental units
          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

          Commitments to maintain the capital of an insured depository institution
        Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
     Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

          Claims for death or personal injury while debtor was intoxicated
        Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
     another substance. 11 U.S.C. § 507(a)(10).




     * Amounts are subject to adjustment on April 1, 2010, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                                0   continuation sheets attached
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   In re          William D Hannah,                                                                                           Case No.
                  Jena B Hannah
                                                                                                                          ,
                                                                                                        Debtors

                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


       Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,                                            E               DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                                     W
                 AND ACCOUNT NUMBER
                                                                                 B             CONSIDERATION FOR CLAIM. IF CLAIM             I   Q   U
                                                                                                                                                         AMOUNT OF CLAIM
                                                                                 T   J                                                       N   U   T
                                                                                 O               IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                     R
                                                                                     C
                                                                                                                                             E   D   D
                                                                                                                                             N   A
Account No.                                                                              pay day loan                                        T   T
                                                                                                                                                 E
                                                                                                                                                 D

30 Day Advance Loan
190 HWY 51 South                                                                     J
Batesville, MS 38606

                                                                                                                                                                           328.00
Account No. xxxxxx0280                                                                   Opened 1/01/08
                                                                                         CollectionAttorney Dish Network
Afni, Inc.
Attn: DP Recovery Support                                                            J
Po Box 3427
Bloomington, IL 61702
                                                                                                                                                                           918.00
Account No.

All State Property and Casualty Ins
P.O. Box 3589                                                                        J
Akron, OH 44309-3589

                                                                                                                                                                             12.00
Account No. xxxxxxxxxxx94-04                                                             open account

AmeriMark Premier
P.O. Box 2845                                                                        J
Monroe, WI 53566-8045

                                                                                                                                                                             84.18

                                                                                                                                           Subtotal
 9
_____ continuation sheets attached                                                                                                                                       1,342.18
                                                                                                                                 (Total of this page)




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   In re          William D Hannah,                                                                                           Case No.
                  Jena B Hannah
                                                                                                                          ,
                                                                                                        Debtors
                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
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                                                                                                 DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                                 B                                                           I   Q   U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No. xxxx8-983                                                                    open account                                            E
                                                                                                                                                 D

Avon Products, Inc.
P.O. Box 105541                                                                      J
Atlanta, GA 30348

                                                                                                                                                                        249.65
Account No.                                                                              open account

Batesville Building supply
151 Hwy 51 N.                                                                        J
Batesville, MS 38606

                                                                                                                                                                        406.57
Account No. xx0411                                                                       medicals

Batesville Emergency Physicians
P.O. Box 1603                                                                        J
Jackson, MS 39215-1603

                                                                                                                                                                        160.00
Account No. xx9720                                                                       medicals

Batesville Emergency Physicians
P.O. Box 1603                                                                        J
Jackson, MS 39215-1603

                                                                                                                                                                        160.00
Account No.                                                                              open account

Blair Corporation
220 Hickory Street                                                                   J
Warren, PA 16365

                                                                                                                                                                          80.00

           1
Sheet no. _____     9
                of _____ sheets attached to Schedule of                                                                                    Subtotal
                                                                                                                                                                      1,056.22
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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   In re          William D Hannah,                                                                                           Case No.
                  Jena B Hannah
                                                                                                                          ,
                                                                                                        Debtors
                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
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                                                                                                 DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                                 B                                                           I   Q   U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No. xxxxxxxx5855                                                                 Opened 5/01/07 Last Active 8/02/07                      E
                                                                                         CreditCard                                              D

Capital 1 Bank
Attn: C/O TSYS Debt Management                                                       H
Po Box 5155
Norcross, GA 30091
                                                                                                                                                                        661.00
Account No.                                                                              cash advance

Cash Tyme
150 Hwy 6 W                                                                          J
Batesville, MS 38606

                                                                                                                                                                        100.00
Account No. xxxxx1412                                                                    Opened 4/01/08
                                                                                         CollectionAttorney Directv
Cbe Group
Attention: Bankruptcy                                                                H
Po Box 900
Waterloo, IA 50704
                                                                                                                                                                        210.00
Account No. xx7821                                                                       07 Us Career Tuition 1st

Coast Pro
888 S Disneyland Dr Ste                                                              J
Anaheim, CA 92802

                                                                                                                                                                      1,290.00
Account No. xxxxxx6576                                                                   Bellsouth Mississippi

Community State Bank
Attn: Bankruptcy Clerk                                                               J
Po Box 3910
Tupelo, MS 38803
                                                                                                                                                                        198.00

           2
Sheet no. _____     9
                of _____ sheets attached to Schedule of                                                                                    Subtotal
                                                                                                                                                                      2,459.00
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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   In re          William D Hannah,                                                                                           Case No.
                  Jena B Hannah
                                                                                                                          ,
                                                                                                        Debtors
                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
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                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No. xxxx-xxxx-xxxx-4356                                                          open account                                            E
                                                                                                                                                 D

Continental Finance
P.O. Box 8099                                                                        J
Newark, DE 19714-8099

                                                                                                                                                                        300.00
Account No. xxxx-xxxx-xxxx-4744                                                          open account

Credit One Bank
P.O. Box 15118                                                                       J
Jacksonville, FL 32239-5118

                                                                                                                                                                        675.00
Account No.                                                                              services

Direct TV
P.O. Box 78626                                                                       J
Phoenix, AZ 85062-8226

                                                                                                                                                                        210.39
Account No. xxxxxxxxxxxx2555                                                             Opened 3/01/08 Last Active 9/02/08
                                                                                         CreditCard
First Premier Bank
3820 N Louise Ave                                                                    J
Sioux Falls, SD 57104

                                                                                                                                                                        200.00
Account No.                                                                              bank service fees

First Security Bank
P.O. Box 690                                                                         J
Batesville, MS 38606

                                                                                                                                                                        675.00

           3
Sheet no. _____     9
                of _____ sheets attached to Schedule of                                                                                    Subtotal
                                                                                                                                                                      2,060.39
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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   In re          William D Hannah,                                                                                           Case No.
                  Jena B Hannah
                                                                                                                          ,
                                                                                                        Debtors
                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
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                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No. xxxxxxxx0848                                                                 Opened 4/01/07 Last Active 8/05/07                      E
                                                                                         ChargeAccount                                           D

Gemb/american Honda
Po Box 981439                                                                        H
El Paso, TX 79998

                                                                                                                                                                      3,643.00
Account No. xxx8521                                                                      Opened 4/01/08
                                                                                         American Honda
Genesis Financial Solu
Po Box 4865                                                                          H
Beaverton, OR 97076

                                                                                                                                                                      3,643.00
Account No. xxxxxxx2230                                                                  collection for Oakwood Financial

LDG Financial Services, LLC
P.O. Box 864                                                                         W
Fort Mill, SC 29716-0864

                                                                                                                                                                        257.10
Account No. xxxxxxxx5192                                                                 Opened 8/01/07 Last Active 9/02/08
                                                                                         ChargeAccount
Lowes / MBGA
Attention: Bankruptcy Department                                                     H
Po Box 103106
Roswell, GA 30076
                                                                                                                                                                        474.00
Account No.                                                                              cash advance

Mississippi Title Loans
333 Highway 6 W                                                                      J
Batesville, MS 38606

                                                                                                                                                                        400.00

           4
Sheet no. _____     9
                of _____ sheets attached to Schedule of                                                                                    Subtotal
                                                                                                                                                                      8,417.10
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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   In re          William D Hannah,                                                                                           Case No.
                  Jena B Hannah
                                                                                                                          ,
                                                                                                        Debtors
                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
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                                                                                                 DATE CLAIM WAS INCURRED AND                 T   I   P
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                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No. xxxxxxx72-03                                                                 open account                                            E
                                                                                                                                                 D

Montgomery Ward
P.O.Box 2843                                                                         J
Monroe, WI 53566-0843

                                                                                                                                                                        300.00
Account No. xxxxx9239                                                                    Opened 2/01/08 Last Active 8/19/08
                                                                                         Quickest-Cash-Advance.Com
National Credit Adjust
Po Box 3023                                                                          J
Hutchinson, KS 67504

                                                                                                                                                                        225.00
Account No. xxxxx5993                                                                    Opened 8/01/06
                                                                                         CollectionAttorney 06 Progressive Insurance S
Nco Financial Systems                                                                    E
507 Prudential Rd                                                                    J
Horsham, PA 19044

                                                                                                                                                                          72.00
Account No.                                                                              pay day loan advance

Panola Check Delay
347 Highway 6 W                                                                      J
Batesville, MS 38606

                                                                                                                                                                        100.00
Account No.                                                                              cash advance

Payday Loans
105 R John Lovelace Drive                                                            J
Batesville, MS 38606

                                                                                                                                                                        400.00

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Sheet no. _____     9
                of _____ sheets attached to Schedule of                                                                                    Subtotal
                                                                                                                                                                      1,097.00
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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   In re          William D Hannah,                                                                                           Case No.
                  Jena B Hannah
                                                                                                                          ,
                                                                                                        Debtors
                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
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                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No.                                                                              bank service fees                                       E
                                                                                                                                                 D

Regions Bank
202 HWY 6 W                                                                          J
Batesville, MS 38606

                                                                                                                                                                        493.19
Account No. xxxxxxxxxxxx4744                                                             Opened 5/01/08 Last Active 7/31/08
                                                                                         Marin
Resurgent Capital Service/Sherman
Acquis                                                                               H
Attention: Bankruptcy Department
Po Box 10587
Greenville, SC 29603                                                                                                                                                    605.00
Account No. xxxxxxxxxxxx3511                                                             Opened 5/01/08 Last Active 7/31/08
                                                                                         Capital One
Resurgent Capital Service/Sherman
Acquis                                                                               H
Attention: Bankruptcy Department
Po Box 10587
Greenville, SC 29603                                                                                                                                                    505.00
Account No. xxxxxxxxxxxxxxxxxxx0530                                                      Opened 5/01/03 Last Active 12/18/06
                                                                                         Educational
Sallie Mae
1002 Arthur Dr                                                                       J
Lynn Haven, FL 32444

                                                                                                                                                                    15,113.00
Account No. xxx2667                                                                      Opened 5/01/05
                                                                                         ReturnedCheck Crossroads Animal Hospital
Security Check Llc
2612 Jackson Ave W                                                                   J
Oxford, MS 38655

                                                                                                                                                                        223.00

           6
Sheet no. _____     9
                of _____ sheets attached to Schedule of                                                                                    Subtotal
                                                                                                                                                                    16,939.19
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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   In re          William D Hannah,                                                                                           Case No.
                  Jena B Hannah
                                                                                                                          ,
                                                                                                        Debtors
                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
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                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No. xxx6928                                                                      Opened 5/01/05 Last Active 6/17/05                      E
                                                                                         ReturnedCheck Crossroads Animal Hospital                D

Security Check Llc
2612 Jackson Ave W                                                                   J
Oxford, MS 38655

                                                                                                                                                                        171.00
Account No. xxx6929                                                                      Opened 5/01/05
                                                                                         ReturnedCheck Crossroads Animal Hospital
Security Check Llc
2612 Jackson Ave W                                                                   J
Oxford, MS 38655

                                                                                                                                                                        160.00
Account No. xxx6407                                                                      Med1 Batesville Emergency Physician

Smith Rouchn
1456 Ellis Ave                                                                       J
Jackson, MS 39204

                                                                                                                                                                        140.00
Account No.                                                                              services

South Panola Veterinary Hospital
200 Watt Street                                                                      J
Batesville, MS 38606

                                                                                                                                                                          84.00
Account No. xx2387                                                                       services

Steven Sullivan DDS
P.O. Box 1200                                                                        J
Batesville, MS 38606

                                                                                                                                                                        300.00

           7
Sheet no. _____     9
                of _____ sheets attached to Schedule of                                                                                    Subtotal
                                                                                                                                                                        855.00
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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   In re          William D Hannah,                                                                                           Case No.
                  Jena B Hannah
                                                                                                                          ,
                                                                                                        Debtors
                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
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                                                                                                 DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                                 B                                                           I   Q   U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No. Dxxx383N1                                                                    Med1 Radiology Associates Of Oxford                     E
                                                                                                                                                 D

Tcm In Corit
513 Waldron St                                                                       H
Corinth, MS 38835

                                                                                                                                                                        257.00
Account No. Dxxx382N1                                                                    Med1 Radiology Associates Of Oxford

Tcm In Corit
513 Waldron St                                                                       H
Corinth, MS 38835

                                                                                                                                                                          54.00
Account No. xxx6956                                                                      medicals

Tri Lakes Medical Center
303 Medical Center Drive                                                             J
Batesville, MS 38606

                                                                                                                                                                        397.00
Account No. xxx7464

Tri Lakes Medical Center
303 Medical Center Drive                                                             J
Batesville, MS 38606

                                                                                                                                                                        533.58
Account No. xxx9521                                                                      medicals

Tri Lakes Medical Center
303 Medical Center Drive                                                             J
Batesville, MS 38606

                                                                                                                                                                        122.48

           8
Sheet no. _____     9
                of _____ sheets attached to Schedule of                                                                                    Subtotal
                                                                                                                                                                      1,364.06
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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   In re          William D Hannah,                                                                                                 Case No.
                  Jena B Hannah
                                                                                                                           ,
                                                                                                        Debtors
                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                             C   U   D
                    CREDITOR'S NAME,                                             O                                                                  O   N   I
                    MAILING ADDRESS                                              D   H                                                              N   L   S
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                                                                                 B                                                                  I   Q   U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM                    N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.                    G   I   E
                   (See instructions above.)                                     R                                                                  E   D   D
                                                                                                                                                    N   A
                                                                                                                                                    T   T
Account No.                                                                                                                                             E
                                                                                                                                                        D

Wade Aldridge
103 Hope Lane                                                                        J
Batesville, MS 38606

                                                                                                                                                                               700.00
Account No.




Account No.




Account No.




Account No.




           9
Sheet no. _____     9
                of _____ sheets attached to Schedule of                                                                                           Subtotal
                                                                                                                                                                               700.00
Creditors Holding Unsecured Nonpriority Claims                                                                                          (Total of this page)
                                                                                                                                                    Total
                                                                                                                          (Report on Summary of Schedules)                 36,290.14


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B6G (Official Form 6G) (12/07)


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  In re             William D Hannah,                                                                             Case No.
                    Jena B Hannah
                                                                                                       ,
                                                                                       Debtors
                         SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
               Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
               of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
               complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
               state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
               disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                  Check this box if debtor has no executory contracts or unexpired leases.
                                                                                        Description of Contract or Lease and Nature of Debtor's Interest.
                   Name and Mailing Address, Including Zip Code,                             State whether lease is for nonresidential real property.
                       of Other Parties to Lease or Contract                                   State contract number of any government contract.




       0
                 continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
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B6H (Official Form 6H) (12/07)


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  In re          William D Hannah,                                                                          Case No.
                 Jena B Hannah
                                                                                                    ,
                                                                                       Debtors
                                                                      SCHEDULE H - CODEBTORS
         Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
     by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
     commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
     Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
     any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
     by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
     state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
     disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
         Check this box if debtor has no codebtors.
                  NAME AND ADDRESS OF CODEBTOR                                            NAME AND ADDRESS OF CREDITOR

                  Penny Hannah                                                            Crescent Bank And Trus
                                                                                          Attn: Bankruptcy
                                                                                          7290 Bluebonet Blvd Ste 600
                                                                                          Baton Rouge, LA 70810

                  Tiffany Willis                                                          Drive Financial
                                                                                          Attn: Bankruptcy Department
                                                                                          Po Box 562088
                                                                                          Dallas, TX 75247




       0
               continuation sheets attached to Schedule of Codebtors
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B6I (Official Form 6I) (12/07)

          William D Hannah
 In re    Jena B Hannah                                                                                 Case No.
                                                                         Debtor(s)

                           SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
Debtor's Marital Status:                                                  DEPENDENTS OF DEBTOR AND SPOUSE
                                        RELATIONSHIP(S):                                             AGE(S):
      Married                                Granddaughter                                               2

Employment:                                           DEBTOR                                                       SPOUSE
Occupation                          Deputy
Name of Employer                    Panola County Sheriff's Department
How long employed                   2 years
Address of Employer                 c/o Panola County Chancery Clerk
                                    151 Public Square, Suite B
                                    Batesville, MS 38606
INCOME: (Estimate of average or projected monthly income at time case filed)                                   DEBTOR                     SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                            $       1,908.00         $            0.00
2. Estimate monthly overtime                                                                             $           0.00         $            0.00

3. SUBTOTAL                                                                                              $         1,908.00       $             0.00

4. LESS PAYROLL DEDUCTIONS
     a. Payroll taxes and social security                                                                $          676.66        $             0.00
     b. Insurance                                                                                        $            0.00        $             0.00
     c. Union dues                                                                                       $            0.00        $             0.00
     d. Other (Specify):       State Retirement                                                          $          138.34        $             0.00
                                                                                                         $            0.00        $             0.00

5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $          815.00        $             0.00

6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $         1,093.00       $             0.00

7. Regular income from operation of business or profession or farm (Attach detailed statement)           $             0.00       $             0.00
8. Income from real property                                                                             $             0.00       $             0.00
9. Interest and dividends                                                                                $             0.00       $             0.00
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that of
      dependents listed above                                                                            $             0.00       $             0.00
11. Social security or government assistance
(Specify):           Social Security Disability                                                          $             0.00       $          573.30
                                                                                                         $             0.00       $            0.00
12. Pension or retirement income                                                                         $             0.00       $            0.00
13. Other monthly income
(Specify):                                                                                               $             0.00       $             0.00
                                                                                                         $             0.00       $             0.00


14. SUBTOTAL OF LINES 7 THROUGH 13                                                                       $             0.00       $          573.30

15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                         $         1,093.00       $          573.30

16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15)                     $              1,666.30
                                                             (Report also on Summary of Schedules and, if applicable, on
                                                             Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
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B6J (Official Form 6J) (12/07)

          William D Hannah
 In re    Jena B Hannah                                                                       Case No.
                                                                  Debtor(s)

         SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
     Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time case
filed. Prorate any payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly
expenses calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
1. Rent or home mortgage payment (include lot rented for mobile home)                                        $                  350.00
 a. Are real estate taxes included?                            Yes                No X
 b. Is property insurance included?                            Yes                No X
2. Utilities:      a. Electricity and heating fuel                                                           $                  225.00
                   b. Water and sewer                                                                        $                   80.00
                   c. Telephone                                                                              $                   25.00
                   d. Other See Detailed Expense Attachment                                                  $                  286.00
3. Home maintenance (repairs and upkeep)                                                                     $                    0.00
4. Food                                                                                                      $                  350.00
5. Clothing                                                                                                  $                    0.00
6. Laundry and dry cleaning                                                                                  $                    0.00
7. Medical and dental expenses                                                                               $                    0.00
8. Transportation (not including car payments)                                                               $                  100.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                          $                    0.00
10. Charitable contributions                                                                                 $                    0.00
11. Insurance (not deducted from wages or included in home mortgage payments)
                   a. Homeowner's or renter's                                                                $                    0.00
                   b. Life                                                                                   $                    0.00
                   c. Health                                                                                 $                    0.00
                   d. Auto                                                                                   $                    0.00
                   e. Other                                                                                  $                    0.00
12. Taxes (not deducted from wages or included in home mortgage payments)
                 (Specify)                                                                                   $                    0.00
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the
plan)
                   a. Auto                                                                                   $                    0.00
                   b. Other                                                                                  $                    0.00
                   c. Other                                                                                  $                    0.00
14. Alimony, maintenance, and support paid to others                                                         $                    0.00
15. Payments for support of additional dependents not living at your home                                    $                    0.00
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)             $                    0.00
17. Other                                                                                                    $                    0.00
    Other                                                                                                    $                    0.00

18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                     $                1,416.00
if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
following the filing of this document:

20. STATEMENT OF MONTHLY NET INCOME
a. Average monthly income from Line 15 of Schedule I                                                         $                1,666.30
b. Average monthly expenses from Line 18 above                                                               $                1,416.00
c. Monthly net income (a. minus b.)                                                                          $                  250.30
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B6J (Official Form 6J) (12/07)
          William D Hannah
 In re    Jena B Hannah                                                    Case No.
                                                       Debtor(s)

                   SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                           Detailed Expense Attachment
Other Utility Expenditures:
cellular phone                                                                        $               275.00
sanitation                                                                            $                11.00
Total Other Utility Expenditures                                                      $               286.00
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B6 Declaration (Official Form 6 - Declaration). (12/07)

                                                                  United States Bankruptcy Court
                                                                        Northern District of Mississippi
             William D Hannah
 In re       Jena B Hannah                                                                                          Case No.
                                                                                             Debtor(s)              Chapter    13




                                         DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                     DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                          I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of
                25       sheets, and that they are true and correct to the best of my knowledge, information, and belief.




 Date October 10, 2008                                                          Signature    /s/ William D Hannah
                                                                                             William D Hannah
                                                                                             Debtor


 Date October 10, 2008                                                          Signature    /s/ Jena B Hannah
                                                                                             Jena B Hannah
                                                                                             Joint Debtor

     Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                      18 U.S.C. §§ 152 and 3571.




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B7 (Official Form 7) (12/07)



                                                                  United States Bankruptcy Court
                                                                        Northern District of Mississippi
             William D Hannah
 In re       Jena B Hannah                                                                                     Case No.
                                                                                             Debtor(s)         Chapter        13


                                                          STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                                             DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or
equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11
U.S.C. § 101.

                                                               __________________________________________

               1. Income from employment or operation of business

    None       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
               business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
               year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
               calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
               report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                           AMOUNT                                   SOURCE
                           $10,259.00                               2007 Adjusted Gross Income
                           $35,656.00                               2006 Adjusted Gross Income
                           $36,254.00                               2005 Adjusted Gross Income
                           $25,262.00                               2004 Adjusted Gross Income




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                                                                                                                                                             2

               2. Income other than from employment or operation of business

    None       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
               during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                           AMOUNT                                   SOURCE
                           $4,356.00                                2007 Federal tax refund and/or EIC payments
                           $494.00                                  2006 Federal tax refund and/or EIC payments
                           $107.00                                  2005 Federal tax refund and/or EIC payments
                           $509.00                                  2004 Federal tax refund and/or EIC payments

               3. Payments to creditors

    None       Complete a. or b., as appropriate, and c.

               a. Individual or joint debtor(s) with primarily consumer debts. List all payments on loans, installment purchases of goods or services,
               and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value
               of all property that constitutes or is affected by such transfer is less than $600. Indicate with an (*) any payments that were made to a
               creditor on account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved
               nonprofit budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS                                                                  DATES OF                                              AMOUNT STILL
    OF CREDITOR                                                                    PAYMENTS                          AMOUNT PAID           OWING

    None       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
               immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
               transfer is less than $5,475. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
               account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
               budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or
               both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                                                         AMOUNT
                                                                                   DATES OF                               PAID OR
                                                                                   PAYMENTS/                            VALUE OF         AMOUNT STILL
 NAME AND ADDRESS OF CREDITOR                                                      TRANSFERS                           TRANSFERS           OWING

    None       c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
               creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR AND                                                                                                        AMOUNT STILL
      RELATIONSHIP TO DEBTOR                                                       DATE OF PAYMENT                   AMOUNT PAID           OWING

               4. Suits and administrative proceedings, executions, garnishments and attachments

    None       a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
               this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
               whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 CAPTION OF SUIT                                                                             COURT OR AGENCY               STATUS OR
 AND CASE NUMBER                                NATURE OF PROCEEDING                         AND LOCATION                  DISPOSITION
 Tri Lakes Medical Center                       collection                                   Panola County Justice Court   pending
 v                                                                                           P.O. Box 249
 William Hannah                                                                              Sardis, MS 38666




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                                                                                                                                                             3
    None       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

 NAME AND ADDRESS OF PERSON FOR WHOSE                                                                 DESCRIPTION AND VALUE OF
    BENEFIT PROPERTY WAS SEIZED                                                 DATE OF SEIZURE              PROPERTY

               5. Repossessions, foreclosures and returns

    None       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
               returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
               or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

                                                                           DATE OF REPOSSESSION,
 NAME AND ADDRESS OF                                                         FORECLOSURE SALE,          DESCRIPTION AND VALUE OF
  CREDITOR OR SELLER                                                        TRANSFER OR RETURN                  PROPERTY

               6. Assignments and receiverships

    None       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
               this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
               joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                        DATE OF
 NAME AND ADDRESS OF ASSIGNEE                                           ASSIGNMENT                      TERMS OF ASSIGNMENT OR SETTLEMENT

    None       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                                   NAME AND LOCATION
 NAME AND ADDRESS                                                       OF COURT                         DATE OF       DESCRIPTION AND VALUE OF
   OF CUSTODIAN                                                    CASE TITLE & NUMBER                   ORDER               PROPERTY

               7. Gifts

    None       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
               and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
               aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

   NAME AND ADDRESS OF                                             RELATIONSHIP TO                                      DESCRIPTION AND
 PERSON OR ORGANIZATION                                             DEBTOR, IF ANY                      DATE OF GIFT     VALUE OF GIFT

               8. Losses

    None       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
               since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                       DESCRIPTION OF CIRCUMSTANCES AND, IF
 DESCRIPTION AND VALUE                                                                 LOSS WAS COVERED IN WHOLE OR IN PART
     OF PROPERTY                                                                          BY INSURANCE, GIVE PARTICULARS         DATE OF LOSS




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               9. Payments related to debt counseling or bankruptcy

    None       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
               concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
               preceding the commencement of this case.

                                                                                    DATE OF PAYMENT,                        AMOUNT OF MONEY
 NAME AND ADDRESS                                                                 NAME OF PAYOR IF OTHER                OR DESCRIPTION AND VALUE
     OF PAYEE                                                                         THAN DEBTOR                              OF PROPERTY
 C. Gaines Baker & Associates, LLC                                                                                     $289.00 Attorney Fees
 136 Public Square                                                                                                     $274.00 Court Filing Fees
 C.G. Baker Building, Suite One                                                                                        $49.00 Credit Counseling Fees
 Batesville, MS 38606                                                                                                  $38.00 Debtor Education Fees
                                                                                                                       $50.00 Credit Report Fees

               10. Other transfers

    None       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
               transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
               filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF TRANSFEREE,                                                                     DESCRIBE PROPERTY TRANSFERRED
     RELATIONSHIP TO DEBTOR                                                     DATE                        AND VALUE RECEIVED

    None       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
               trust or similar device of which the debtor is a beneficiary.

 NAME OF TRUST OR OTHER                                                                              AMOUNT OF MONEY OR DESCRIPTION AND
 DEVICE                                                                         DATE(S) OF           VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                                TRANSFER(S)          IN PROPERTY

               11. Closed financial accounts

    None       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
               otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
               financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
               cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
               include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
               unless the spouses are separated and a joint petition is not filed.)

                                                                                   TYPE OF ACCOUNT, LAST FOUR
                                                                                   DIGITS OF ACCOUNT NUMBER,            AMOUNT AND DATE OF SALE
 NAME AND ADDRESS OF INSTITUTION                                                  AND AMOUNT OF FINAL BALANCE                  OR CLOSING

               12. Safe deposit boxes

    None       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
               immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
               depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                              NAMES AND ADDRESSES
 NAME AND ADDRESS OF BANK                                     OF THOSE WITH ACCESS                    DESCRIPTION               DATE OF TRANSFER OR
  OR OTHER DEPOSITORY                                         TO BOX OR DEPOSITORY                    OF CONTENTS                SURRENDER, IF ANY

               13. Setoffs

    None       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
               commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR                                                     DATE OF SETOFF                        AMOUNT OF SETOFF


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               14. Property held for another person

    None       List all property owned by another person that the debtor holds or controls.


                                                                                  DESCRIPTION AND VALUE OF
 NAME AND ADDRESS OF OWNER                                                               PROPERTY                      LOCATION OF PROPERTY

               15. Prior address of debtor

    None       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
               occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
               address of either spouse.

 ADDRESS                                                                          NAME USED                            DATES OF OCCUPANCY

               16. Spouses and Former Spouses

    None       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
               Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
               commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
               the community property state.

 NAME

               17. Environmental Information.

               For the purpose of this question, the following definitions apply:

               "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
               or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
               statutes or regulations regulating the cleanup of these substances, wastes, or material.

                      "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly
                      owned or operated by the debtor, including, but not limited to, disposal sites.

                      "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
                      pollutant, or contaminant or similar term under an Environmental Law

    None       a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
               or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
               the Environmental Law:

                                                              NAME AND ADDRESS OF                     DATE OF                 ENVIRONMENTAL
 SITE NAME AND ADDRESS                                        GOVERNMENTAL UNIT                       NOTICE                  LAW

    None       b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
               Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                              NAME AND ADDRESS OF                     DATE OF                 ENVIRONMENTAL
 SITE NAME AND ADDRESS                                        GOVERNMENTAL UNIT                       NOTICE                  LAW

    None       c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
               the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
               docket number.

 NAME AND ADDRESS OF
 GOVERNMENTAL UNIT                                                                DOCKET NUMBER                        STATUS OR DISPOSITION




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               18 . Nature, location and name of business

    None       a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
               partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
               immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
               within six years immediately preceding the commencement of this case.

               If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
               years immediately preceding the commencement of this case.

               If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
               years immediately preceding the commencement of this case.

                                     LAST FOUR DIGITS OF
                                     SOCIAL-SECURITY OR
                                     OTHER INDIVIDUAL
                                     TAXPAYER-I.D. NO.                                                                             BEGINNING AND
 NAME                                (ITIN)/ COMPLETE EIN                  ADDRESS                 NATURE OF BUSINESS              ENDING DATES

    None       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


 NAME                                                                           ADDRESS


    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

               19. Books, records and financial statements

    None       a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
               supervised the keeping of books of account and records of the debtor.

 NAME AND ADDRESS                                                                                          DATES SERVICES RENDERED

    None       b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
               of account and records, or prepared a financial statement of the debtor.

 NAME                                                  ADDRESS                                             DATES SERVICES RENDERED

    None       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
               of the debtor. If any of the books of account and records are not available, explain.

 NAME                                                                                        ADDRESS

    None       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
               issued by the debtor within two years immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                                                 DATE ISSUED




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               20. Inventories

    None       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
               and the dollar amount and basis of each inventory.

                                                                                                                DOLLAR AMOUNT OF INVENTORY
 DATE OF INVENTORY                                     INVENTORY SUPERVISOR                                     (Specify cost, market or other basis)

    None       b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.


                                                                                             NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
 DATE OF INVENTORY                                                                           RECORDS

               21 . Current Partners, Officers, Directors and Shareholders

    None       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


 NAME AND ADDRESS                                                               NATURE OF INTEREST                        PERCENTAGE OF INTEREST

    None       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
               controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                                NATURE AND PERCENTAGE
 NAME AND ADDRESS                                                               TITLE                           OF STOCK OWNERSHIP

               22 . Former partners, officers, directors and shareholders

    None       a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
               commencement of this case.

 NAME                                                              ADDRESS                                               DATE OF WITHDRAWAL

    None       b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
               immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                               TITLE                           DATE OF TERMINATION

               23 . Withdrawals from a partnership or distributions by a corporation

    None       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
               in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
               commencement of this case.

 NAME & ADDRESS                                                                                                           AMOUNT OF MONEY
 OF RECIPIENT,                                                                  DATE AND PURPOSE                          OR DESCRIPTION AND
 RELATIONSHIP TO DEBTOR                                                         OF WITHDRAWAL                             VALUE OF PROPERTY

               24. Tax Consolidation Group.

    None       If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
               group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
               of the case.

 NAME OF PARENT CORPORATION                                                                                  TAXPAYER IDENTIFICATION NUMBER (EIN)

               25. Pension Funds.

    None       If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to which the debtor, as an
               employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

 NAME OF PENSION FUND                                                                                        TAXPAYER IDENTIFICATION NUMBER (EIN)


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                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


 Date October 10, 2008                                                          Signature    /s/ William D Hannah
                                                                                             William D Hannah
                                                                                             Debtor


 Date October 10, 2008                                                          Signature    /s/ Jena B Hannah
                                                                                             Jena B Hannah
                                                                                             Joint Debtor

                    Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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                                                                 United States Bankruptcy Court
                                                                       Northern District of Mississippi
             William D Hannah
 In re       Jena B Hannah                                                                                           Case No.
                                                                                            Debtor(s)                Chapter    13


                           DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
              For legal services, I have agreed to accept                                                        $                2,500.00
              Prior to the filing of this statement I have received                                              $                   289.00
              Balance Due                                                                                        $                2,211.00

2.     $    274.00         of the filing fee has been paid.

3.     The source of the compensation paid to me was:

                   Debtor                  Other (specify):

4.     The source of compensation to be paid to me is:

                   Debtor                  Other (specify):

5.           I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.     In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
       a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d. [Other provisions as needed]
                 Exemption planning; preparation and filing of reaffirmation agreements and applications as needed; preparation
                 and filing of motions pursuant to 11 USC 522(f)(2)(A) for avoidance of liens on household goods.

7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding. Additional fees for adding new creditors, attendance at second Meeting of
               Creditors, and/or re-opening the case for any reason.
                                                                                       CERTIFICATION

       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

 Dated:       October 10, 2008                                                              /s/ C. Gaines Baker
                                                                                            C. Gaines Baker 8643
                                                                                            C. Gaines Baker & Associates, LLC
                                                                                            136 Public Square
                                                                                            C.G. Baker Building, Suite One
                                                                                            Batesville, MS 38606
                                                                                            (662)563-9385 Fax: (662)561-0743
                                                                                            cgbaker@panola.com (court use only)




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                                                         UNITED STATES BANKRUPTCY COURT
                                                         NORTHERN DISTRICT OF MISSISSIPPI

                                NOTICE TO INDIVIDUAL CONSUMER DEBTOR UNDER § 342(b)
                                              OF THE BANKRUPTCY CODE
                      In accordance with § 342(b) of the Bankruptcy Code, this notice: (1) Describes briefly the services available from
             credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of bankruptcy proceedings
             you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General may examine all
             information you supply in connection with a bankruptcy case. You are cautioned that bankruptcy law is complicated and not
             easily described. Thus, you may wish to seek the advice of an attorney to learn of your rights and responsibilities should you
             decide to file a petition. Court employees cannot give you legal advice.

1. Services Available from Credit Counseling Agencies
          With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator. The
clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies.

          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

             Chapter 7: Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total Fee $299)
          1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors
whose debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted to
proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in some cases,
creditors have the right to file a motion requesting that the court dismiss your case under § 707(b) of the Code. It is up to the court to
decide whether the case should be dismissed.
          2. Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to
take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
          3. The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the
purpose for which you filed the bankruptcy petition will be defeated.
          4. Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still
be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property
settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly listed
in your bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while
intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from
a willful and malicious injury, the bankruptcy court may determine that the debt is not discharged.

             Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
             $39 administrative fee: Total fee $274)
          1. Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments
over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the
Bankruptcy Code.
          2. Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them,
using your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.
          3. After completing the payments under your plan, your debts are generally discharged except for domestic support
obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly
listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.



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             Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.


             Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)
         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a
family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the United
States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not
filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court.

                                                                               Certificate of Attorney
             I hereby certify that I delivered to the debtor this notice required by § 342(b) of the Bankruptcy Code.

 C. Gaines Baker 8643                                                                        X /s/ C. Gaines Baker                  October 10, 2008
Printed Name of Attorney                                                                       Signature of Attorney                Date
Address:
136 Public Square
C.G. Baker Building, Suite One
Batesville, MS 38606
(662)563-9385

                                                                                Certificate of Debtor
             I (We), the debtor(s), affirm that I (we) have received and read this notice.

 William D Hannah
 Jena B Hannah                                                                               X /s/ William D Hannah                 October 10, 2008
 Printed Name of Debtor                                                                        Signature of Debtor                  Date

 Case No. (if known)                                                                         X /s/ Jena B Hannah                    October 10, 2008
                                                                                               Signature of Joint Debtor (if any)   Date




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                                                                  United States Bankruptcy Court
                                                                        Northern District of Mississippi
             William D Hannah
 In re       Jena B Hannah                                                                                 Case No.
                                                                                             Debtor(s)     Chapter    13




                                                 VERIFICATION OF CREDITOR MATRIX


The above-named Debtors hereby verify that the attached list of creditors is true and correct to the best of their knowledge.



 Date:      October 10, 2008                                                    /s/ William D Hannah
                                                                                William D Hannah
                                                                                Signature of Debtor

 Date:      October 10, 2008                                                    /s/ Jena B Hannah
                                                                                Jena B Hannah
                                                                                Signature of Debtor




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                        30 Day Advance Loan
                        190 HWY 51 South
                        Batesville, MS 38606


                        Afni, Inc.
                        Attn: DP Recovery Support
                        Po Box 3427
                        Bloomington, IL 61702


                        All State Property and Casualty Ins
                        P.O. Box 3589
                        Akron, OH 44309-3589


                        AmeriMark Premier
                        P.O. Box 2845
                        Monroe, WI 53566-8045


                        Avon Products, Inc.
                        P.O. Box 105541
                        Atlanta, GA 30348


                        Batesville Building supply
                        151 Hwy 51 N.
                        Batesville, MS 38606


                        Batesville Emergency Physicians
                        P.O. Box 1603
                        Jackson, MS 39215-1603


                        Blair Corporation
                        220 Hickory Street
                        Warren, PA 16365


                        Capital 1 Bank
                        Attn: C/O TSYS Debt Management
                        Po Box 5155
                        Norcross, GA 30091


                        Capital One Auto Finance
                        3901 N Dallas Pkwy
                        Plano, TX 75093


                        Cash Tyme
                        150 Hwy 6 W
                        Batesville, MS 38606
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                    Cbe Group
                    Attention: Bankruptcy
                    Po Box 900
                    Waterloo, IA 50704


                    Coast Pro
                    888 S Disneyland Dr Ste
                    Anaheim, CA 92802


                    Community State Bank
                    Attn: Bankruptcy Clerk
                    Po Box 3910
                    Tupelo, MS 38803


                    Continental Finance
                    P.O. Box 8099
                    Newark, DE 19714-8099


                    Credit One Bank
                    P.O. Box 15118
                    Jacksonville, FL 32239-5118


                    Crescent Bank And Trus
                    Attn: Bankruptcy
                    7290 Bluebonet Blvd Ste 600
                    Baton Rouge, LA 70810


                    Direct TV
                    P.O. Box 78626
                    Phoenix, AZ 85062-8226


                    Drive Financial
                    Attn: Bankruptcy Department
                    Po Box 562088
                    Dallas, TX 75247


                    Encore
                    P.O. Box 3330
                    Olathe, KS 66063-3330


                    First Premier Bank
                    3820 N Louise Ave
                    Sioux Falls, SD 57104
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                    First Security Bank
                    P.O. Box 690
                    Batesville, MS 38606


                    Gemb/american Honda
                    Po Box 981439
                    El Paso, TX 79998


                    Genesis Financial Solu
                    Po Box 4865
                    Beaverton, OR 97076


                    Hall & Associates
                    560 Route 303, Suite 209
                    Orangeburg, NY 10962


                    LDG Financial Services, LLC
                    P.O. Box 864
                    Fort Mill, SC 29716-0864


                    Lowes / MBGA
                    Attention: Bankruptcy Department
                    Po Box 103106
                    Roswell, GA 30076


                    Mississippi Title Loans
                    333 Highway 6 W
                    Batesville, MS 38606


                    Montgomery Ward
                    P.O.Box 2843
                    Monroe, WI 53566-0843


                    National Credit Adjust
                    Po Box 3023
                    Hutchinson, KS 67504


                    Nco Financial Systems
                    507 Prudential Rd
                    Horsham, PA 19044


                    Panola Check Delay
                    347 Highway 6 W
                    Batesville, MS 38606
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                    Payday Loans
                    105 R John Lovelace Drive
                    Batesville, MS 38606


                    Radiology Associates of Oxford
                    P.O. Box 2121
                    Memphis, TN 38159-0001


                    Regions Bank
                    202 HWY 6 W
                    Batesville, MS 38606


                    Republic Fianance, LLC
                    103-1 Woodland Road
                    Batesville, MS 38606


                    Resurgent Capital Service/Sherman Acquis
                    Attention: Bankruptcy Department
                    Po Box 10587
                    Greenville, SC 29603


                    Sallie Mae
                    1002 Arthur Dr
                    Lynn Haven, FL 32444


                    Security Check Llc
                    2612 Jackson Ave W
                    Oxford, MS 38655


                    Smith Rouchn
                    1456 Ellis Ave
                    Jackson, MS 39204


                    South Panola Veterinary Hospital
                    200 Watt Street
                    Batesville, MS 38606


                    Steven Sullivan DDS
                    P.O. Box 1200
                    Batesville, MS 38606


                    Tcm In Corit
                    513 Waldron St
                    Corinth, MS 38835
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                    TnT Appliances
                    122 Highway 51 North
                    Batesville, MS 38606


                    Tri Lakes Medical Center
                    303 Medical Center Drive
                    Batesville, MS 38606


                    Wade Aldridge
                    103 Hope Lane
                    Batesville, MS 38606
